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                             Exh. 21
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                           DECLARATION OF RONALD WATKINS


I, Ronald Watkins, hereby state the following:


1. I am a United States citizen currently residing in Japan.


2. I am an adult of sound mind. All statements in this declaration are based on my personal
knowledge and are true and correct.


3. I am making this statement voluntarily and on my own initiative. I have not been promised,
nor do I expect to receive, anything in exchange for my testimony and giving this statement. I
have no expectation of any profit or reward and understand that there are those who may seek to
harm me for what I say in this statement.


4. I want to alert the public and let the world know the truth about actual voting tabulation
software designed, whether with malicious intent or plain incompetence, in such a way so as to
facilitate digital ballot stuffing via simple vote result manipulation and abuse of the digital
adjudication manual review system. The Dominion Democracy Suite may both enable voter
fraud by unethical officials out to undermine the will of the people, and honest officials making
simple, nearly untraceable, mistakes. Voting is a fundamental manifestation of our First
Amendment right to free speech and under no circumstance shall we allow a conspiracy of
people and companies to subvert and destroy one of our most sacred rights.


5. I am a network and information security expert with nine years of experience as a network
and information defense analyst and a network security engineer. In my nine years of network
and information security experience, I have successfully defended large websites and networks
against major and powerful cyberattacks.


6. The ImageCast Central system is a software and hardware workstation system designed to
work with just a common "Windows 10 Pro"[1][2] computer paired via data cable [3] to an off-
the-shelf document scanner [4] "for high speed scanning and counting of paper ballots.[5]”


7. When bulk ballot scanning and tabulation begins, the "ImageCast Central" workstation
operator will load a batch of ballots into the scanner feed tray and then start the scanning


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procedure within the software menu [6]. The scanner then begins to scan the ballots which were
loaded into the feed tray while the "ImageCast Central" software application tabulates votes in
real-time. Information about scanned ballots can be tracked inside the "ImageCast Central"
software application [7].


8. After all of the ballots loaded into the scanner's feed tray have been through the scanner, the
"ImageCast Central" operator will remove the ballots from the tray then have the option to
"Accept Batch" on the scanning menu [8]. Accepting the batch saves the results into the local file
system within the "Windows 10 Pro" machine [9]. Any "problem ballots" that may need to be
examined or adjudicated at a later time can be found as ballot scans saved as image files into a
standard Windows folder named "NotCastImages" [9]. These "problem ballots" are
automatically detected during the scanning phase and digitally set aside for manual review based
on exception criteria [10]. Examples of exceptions may include: overvotes, undervotes, blank
contests, blank ballots, write-in selections, and marginal marks [11]. “Customizable outstack
conditions and marginal mark detection lets [Dominion’s Customers] decide which ballots are
sent for Adjudication. [12]”


9. During the ballot scanning process, the "ImageCast Central" software will detect how much
of a percent coverage of the oval was filled in by the voter [13]. The Dominion customer
determines the thresholds of which the oval needs to be covered by a mark in order to qualify as
a valid vote [14][15]. If a ballot has a marginal mark which did not meet the specific thresholds
set by the customer, then the ballot is considered a "problem ballot" and may be set aside into a
folder named "NotCastImages" [9]. “The ImageCast Central's advanced settings allow for
adjustment of the scanning properties” to “[set] the clarity levels at which the ballot should be
scanned at. Levels can be set as a combination of brightness and contrast values, or as a gamma
value. [16]”


10. Through creatively tweaking the oval coverage threshold settings, and advanced settings on
the ImageCast Central scanners, it may be possible to set thresholds in such a way that a non-
trivial amount of ballots are marked "problem ballots" and sent to the "NotCastImages" folder.


11. The administrator of the ImageCast Central work station may view all images of scanned
ballots which were deemed “problem ballots” by simply navigating via the standard "Windows
File Explorer" to the folder named "NotCastImages" which holds ballot scans of "problem
ballots" [17][18]. It may be possible for an administrator of the "ImageCast Central" workstation
to view and delete any individual ballot scans from the "NotCastImages" folder by simply using
the standard Windows delete and recycle bin functions provided by the Windows 10 Pro
operating system.


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12. Adjudication is “the process of examining voted ballots to determine, and, in the judicial
sense, adjudicate voter intent. [19]” A biased poll worker without sufficient honest oversight
could abuse the adjudication system to fraudulently switch votes for a specific candidate.


13. After the tabulation process, the ImageCast Central software saves a copy of the tabulation
results locally to the "Windows 10 Pro" machine's internal storage. The results data is located in
an easy-to-find path which is designed to easily facilitate the uploading of tabulation results to
flash memory cards. The upload process is just a simple copying of a "Results" folder containing
vote tallies to a flash memory card connected to the "Windows 10 Pro" machine. The copy
process uses the standard drag-n-drop or copy/paste mechanisms within the ubiquitous
"Windows File Explorer" [20]. While a simple procedure, the report results process may be error
prone and is very vulnerable to malicious administrators. Before delivering final tabulation
results to the county, it is within the realm of possibility to mistakenly copy the wrong "Results"
folder or even maliciously copy a false "Results" folder, which may contain a manipulated data
set, to the flash memory card.


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I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct and that this Declaration was prepared in Japan. Executed on
November 23, 2020.




                                                    ___________________________
                                                    RONALD WATKINS




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